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                 EXHIBIT E
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        From:           Chris Wolf <cwolf@mutualmortgage.com>
        Sent:           4/19/2022 11:15:21 AM -0500
        To:             Dawson Walker <dawson.walker@waterstonemortgage.com>
        Subject:        Fwd: Fwd: PERSINGER | 10820 Queens Rad, Port Richey Florida 34668
        Attachments:    Persinger10820QueensRdSalesContract.pdf;
                        CONTRACT 10820QueensRoad2.pdf




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                     iginated from outside of the organization. Please exercise caution before respondi

        ‘Due to an ongoing phishing campaign against our organization, please exercise extreme caution when|
        opening any emails claiming to be sent from First American Title Company. If you were not expecting thi:




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                    Hi, Dawson.
                    We’re your designated Tampa Closing Team      —




                    nice to meet you! On behalf of everyone at
                    Offerpad, we’re excited to work with you
                    throughout the closing period.
                    This email contains some important info about
                    the next steps. To better enable us to provide a
                    smooth closing experience, please take a
                    moment to review the details below.

                    In the days ahead, please note:




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                         e   We strive to close transactions on time, if
                             not early. Please note, per the Seller
                             Standard Addendum, there is a $50/day
                             penalty for closing late & a $50/day credit for
                             closing early.
                             Please let us know when you have
                             ordered/received the appraisal, and whether
                             it appraised at purchase price and/or is
                             subject to any conditions. Please keep us
                             informed through this closing process of any
                             issues or problems that may arise with
                             closing on time.
                      Contact Info
                      Escrow'Title:
                      First American Title
                      Becky Allsbury
                      FLProptech@firstam.com
                      (813) 440-6515
                      Agent:
                      MVP Realty Associates
                      Natasha Abbott
                      natashasellsflorida@gmail.com
                      239-248-9047

                      Thanks for your help!




                Tampa Closing Team
                fl_transactions@offerpad.com
                Closing Team Direct Line: 602-671-0136
                Repair Team Direct Line: 602-932-6516




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